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          Notice of Appeal to the United States Court of Appeals
          for the Federal Circuit From an Appealable Order of
                the United States Court of Federal Claims

                     United States Court of Federal Claims
                           Docket Number 18-1124

            Wazee Street Opportunities
            Fund IV LP, Douglas Whitley,
            and Lisa Brown, On Behalf of
            Themselves and All Others
            Similarly Situated,
                           Plaintiffs,
                                                  Notice of Appeal
                   v.

            THE UNITED STATES OF
            AMERICA,
                           Defendant.



          All Plaintiffs in this action appeal to the United States Court
          of Appeals for the Federal Circuit from the order granting
          Defendant’s motion to dismiss entered on November 15,
          2023.

           Dated: January 15, 2024       Respectfully Submitted,

                                         /s/ Hamish P.M. Hume ___
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Case 1:18-cv-01124-MMS Document 43 Filed 01/15/24 Page 2 of 2




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